Case 1:19-cr-20822-KMW Document 25 Entered on FLSD Docket 05/27/2020 Page 1 of 4

                                                                                FILED BY                D.
                                                                                                          C.
                             U NITED STA TES D IST RIC T C O U RT                   Mlt 2 2222
                             SO U TH ER N DISTR ICT O F FL O R ID A                 cANGE
                                                                                     UEnKLtA e.Nœ t.e
                                                                                    s      J.S.Dàs'
                                                                                                  Lcm
                                                                                     .o.OFFtl.-MIAMI
                        CASE NO.19-20822-CR-W ILLIAM S/TORRES(s)
                                         18U.S.C.j242
  UN ITED STA TES O F AM ERICA ,




  JESU S M A N UEL M EN O CA L, JR.,

         Defendant.


                                SU PER SE DIN G INFO R M A TIO N

        TheUnited StatesAttorney chargesthat:

                                      G E NER A L A LLEG A TIO N S

        Ata1ltim es relevantto this Superseding lnfonnation:

         l.     DefendantJESUS M ANUEL M ENO CAL,JR . wasem ployed asaHialeah Police

 Depm m entofficer.

        2.      VICTIM 3 was a civilian living in H ialeah, Florida,in the Southern District of

 Florida.

                                            C O UN T 1
                 (Deprivation ofRightsUnderColorofLaw: 18U.S.C.j242)
                Paragraphs 1 and 2 of the General A llegations section of this Superseding

 lnform ation are realleged and incorporated as though fully setforth herein.

               On or aboutM ay 31,2015,in M iam i-Dade County, in the Southenz D istrict of

 Florida,the defendant,

                              JESU S M A N UEL M EN O C A L,JR .,
Case 1:19-cr-20822-KMW Document 25 Entered on FLSD Docket 05/27/2020 Page 2 of 4



    while acting undercoloroflaw , willfully deprived VICTIM 3 ofthe right, secured and protected

    by the Constitution and laws ofthe United States, to be free from unreasonable searches and

    seizuresby aperson adingundercoloroflaw . ln so doing,JESUS M ANUEL M ENOCAL,JR.

    caused V ICTIM 3'sm outh to have contactw ith his penis.

           A1lin violation ofTitle 18,United StatesCode, Section 242.




      l                 yswù
    A RIAN A FA JA RDO O RSH AN                       ERIC S.DREIBAN D
    UN ITED STA TES A TTO RN EY                       A SSISTAN T A TTORN EY G EN EM L
                                                      U .S.D EPA RTM EN T OF JU STICE
                                                      CIV IL RIG HTS D IV ISION



    EDW ARD N .STA M M                             XSAMANTHATREPEL v N $
    A SSISTAN T U N ITED STA TES A TTO RN EY          spEclAl-LITIGA TION co tm sEl-

V            y cx .J.,y
    ILHAM HossEm l '
    A sslsrrAx '
               r IJN ITED STATES A TTO RN EY
                               UNITED25
     Case 1:19-cr-20822-KMW Document STATES DISTRI
                                        Entered onCT COURT
                                                   FLSD Docket 05/27/2020 Page 3 of 4
                                            SOU TH ERN DISTR ICT O F FLO R IDA

UNITED STA TES O F AM ERICA                               C ASE NO . 19-20822-CR-KMW (s)


                                                          C ERTIFICA TE O F TR IA L A TTO R NEY.
JESUS M ANUEL M ENOCAL,JR.,
                                                          Superseding Case lnform ation:
                             Defendant.         /
CourtDivision:(sclectone)                                 New defendantts)           Yes
 z      M iami             Key W est                      Num berofnew defendants
        FTL                W PB           FTP             Totalnum ber ofcounts            -W -

                 1have carefully considered the allegations ofthe indictm ent, the num berofdefendants,the num berof
                 probablewitnessesand thelegalcomplexitiesofthe lndictment/lnform ation attached hereto.
                 Iam aware thatthe information supplied on this statcment willbe relied upon by the Judges of this
                 Courtin setting theircalendars and scheduling criminaltrials under the m andate of the Speedy Trial
                 Act,Title28 U .S.C.Section 3161.
        3.       Interpreter:     (YesorNo)         No
                 Listlanguageand/ordialect
                 Thiscase willtake 6 daysforthe partiesto try.
        5.       Please check appropriate category and typeofoffense listed below:
                 (Checkonl
                         yone)                                  (Checkonl
                                                                        yone)

       l         0 to 5 days                                    Petty
       11        6to 10days                     /               M inor
       1l1       llto 20days                                    M isdem .            z
       IV        2lto 60 days                                   Felony
       V         61daysand over
       6.        Hasthiscasepreviouslybeen filed inthisDistrictCourt?            (YesorNo)        Xqs
                                                                                                  .     -
        lfyes:Judge Kathleen M . W illiam s              CaseN o. 19-20822-CR-W lLL1AM S/TORRES
        (Attachcopy ofdispositiveorder)
        Hasacomplaintbeenfiledinthismatter?              (YesorNo)          N0
        lfyes:M agistrate CaseN o.
        Related m iscellaneousnumbers:
        Defendantts)infederalcustody asof
        Defendantts)instatecustodyasof
        Rule 20 from theD istrictof
        Isthisapotentialdeathpenalty case?(YesorNo)               No
                 Doesthiscase originatefrom am atterpending in theCentralRegion ofthe U .S.Attorney'sOffice
                 priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                   Yes              No ?'
        8.       Doesthiscase originate from a m atterpending in the Northern Region U .S.Attorney'sOffice
                 priortoAugust8,2014 (M ag.JudgeShaniek M aynard)?               Yes              No z



                                                                EDW ARD N .STAM M
                                                                ASSISTAN T UNITED STATES ATTORNEY
                                                                Fla.BarN o.373826
*penaltySheetts)attached                                                                                    REV 8/l3/2018
Case 1:19-cr-20822-KMW Document 25 Entered on FLSD Docket 05/27/2020 Page 4 of 4




                           U NITED STAT ES D IST RIC T C O U RT
                           SO U TH ER N DISTR ICT O F FL O R ID A

                                       PEN ALTY SHEET

  Defendant's N am e: JESU S M A N UE L M EN O C A L.JR .

  CaseNo:19-20822-CR-KM W (s)                     -




  Count#:1

  Deprivation ofRightsU nderc olorofLaw
                            -     -     --




  Title 18.United StatesC ode,Section 242

  *M ax.Penaltv:1 vearim prisonm ent

  Count#:




  *M ax.Penaltv:

 Count#:




 *M ax.Penaltv:




 * R efers only to possible term of incarceration,doesnotinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures that m ay be applicable.
